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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

BELCALIS MARLENIS ALMANZAR,                   *
                                              *
                          Plaintiff,          *
                                              *            Civil Action No.
      v.                                      *            1:19-cv-01301-WMR
                                              *
LATASHA TRANSRINA KEBE et al.,                *
                                              *
                          Defendants.         *

                  DEFENDANT KEBE’S RESPONSE TO
            PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

      COMES NOW Defendant Latasha Kebe (hereinafter referred to as “Ms.

Kebe”), by and through undersigned Counsel, and, pursuant to Fed. R. Civ. P. 56

and L.R. 56.1, files her Response to Plaintiff’s Motion for Summary Judgment. Ms.

Kebe opposes summary judgment for the following reasons:

      (1)    Plaintiff is not entitled to partial summary judgment as a matter of law

on her claims for defamation per se (Counts I and III) because genuine disputes as

to material facts regarding liability still exit. Therefore, both defamation per se

counts should be presented to a jury for consideration. Additionally, Plaintiff is not

entitled to injunctive relief because Ms. Kebe’s statements are not defamatory.

      (2)    Plaintiff is not entitled to partial summary judgment as a matter of law

on her claim for intentional infliction of emotional distress (Count V) because

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Plaintiff has failed to produce evidence of severe emotional distress and genuine

disputes as to material facts regarding Ms. Kebe’s conduct and whether it caused

Plaintiff’s alleged emotional distress still exist. Therefore, this count should be

presented to a jury for consideration.

      (3)    Plaintiff is not entitled to summary judgment on any of Ms. Kebe’s

counterclaims because Ms. Kebe has produced evidence to support each of her

counterclaims and genuine disputes as to material facts regarding Plaintiff’s conduct,

intent, and liability still exist. Therefore, all of Ms. Kebe’s counterclaims should be

presented to a jury for consideration.

                        CERTIFICATION AS TO FONT

      In accordance with Local Rule 7.1(D), the undersigned certifies that the

foregoing document was prepared with Times New Roman 14 point, a font and point

selection approved by the Court in Local Rule 5.1(C).

                    Respectfully submitted this 25th day of January, 2021.



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                                              /s/Sadeer Sabbak
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                           CERTIFICATE OF SERVICE

       I hereby certify that on January 25, 2021, I electronically filed the foregoing

DEFENDANT KEBE’S RESPONSE TO PLAINTIFF’S MOTION FOR

SUMMARY         JUDGMENT             and   the    accompanying       BRIEF    OPPOSING

PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT; KEBE’S RESPONSE

TO    PLAINTIFF’S        STATEMENT               OF     MATERIAL      FACTS;     KEBE’S

STATEMENT OF ADDITIONAL MATERIAL FACTS; and DECLARATION OF

SADEER SABBAK with accompanying exhibits, with the Clerk of the Court using

the CM/ECF system, which will automatically send email notification of such filing

to all of the attorneys of record.



                                                      /s/Olga Izmaylova
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